Case 2:19-cv-12165-DPH-APP ECF No. 26, PageID.1255 Filed 08/20/21 Page 1 of 2




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,
and THE STATES OF CALIFORNIA,
CONNECTICUT, FLORIDA, ILLINOIS,                      Civil Case No. 19-12165
MASSACHUSETTS, MICHIGAN, NEW                         Honorable Gershwin A. Drain
YORK, OHIO, RHODE ISLAND, and                        Mag. Judge Anthony P. Patti
TEXAS, and the Government of PUERTO
RICO, ex rel. MSP WB, LLC and
MICHIGAN ANGELO,                                     FALSE CLAIMS ACT
                                                     MEDICARE FRAUD
              Plaintiffs-Relators,

v.

21ST CENTURY ADVANTAGE INS., CO.,
et al.,

          Defendants.
____________________________________/

          NOTICE OF ELECTION TO DECLINE INTERVENTION

       Illinois was inadvertently omitted from the previously filed Joint Notice of

Election to Decline Intervention. Pursuant to 740 ILCS 175/1 et. seq. (Illinois

False Claims Act), Illinois hereby notifies the Court of its decision not to intervene

in this action.

       The Illinois False Claims Act, 740 ILCS 175/4(c) permits the relator to

maintain this action in the name of the State of Illinois; providing, however, that
Case 2:19-cv-12165-DPH-APP ECF No. 26, PageID.1256 Filed 08/20/21 Page 2 of 2




the action may be dismissed only if the Attorney General for the State of Illinois is

notified and given an opportunity to oppose the dismissal.

      The Attorney General for the State of Illinois, pursuant to 740 ILCS

175/4(c)(4), further requests that his office be served with copies of all pleadings

and court orders filed in this action. The Illinois Attorney General also requests

that his office be served with all notices of appeal.

                                        Respectfully submitted,

                                        KWAME RAOUL
                                        Illinois Attorney General

                                        /s/Robert Barba
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Dated: August 20, 2021




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